Exhibit I
  From:    William Cosmas wcosmas@cosmaslaw.com
Subject:   Bay Equity v. Total Mortgage - Subpoenas to Marc Nathan
   Date:   August 5, 2021 at 10:59 AM
     To:   Stephen Riden sriden@beckreed.com
    Cc:    Jared L. Hubbard jlh@fitchlp.com


       Steve –

       I was disappointed to learn that last Wednesday morning (July 28), my client, Marc
       Nathan, received the attached text message from Alyssa Caliendo, who I understand to
       be a Bay Equity employee and an attorney licensed to practice in California. Based on
       my investigation of the underlying facts, Ms. Caliendo’s allegations in the attached
       message are untrue and borderline defamatory. Respectfully, I would ask that you
       instruct your client and its employees to refrain from further harassment of my clients.

       As you know, Bay Equity and Total Mortgage now both operate offices at 65 LaSalle
       Road in West Hartford, CT (“65 LaSalle”). Mr. Nathan, along with some of my other
       clients, works at the Total Mortgage office at 65 LaSalle. I understand that Bay Equity
       held a promotional event on July 27 in the 65 LaSalle parking lot, which included an ice
       cream truck parked in the lot on the southerly side of 65 LaSalle. During that event, Mr.
       Nathan and 1-2 of his colleagues waited on a public sidewalk, to the south of the
       entrance to 65 LaSalle and parallel to the 65 LaSalle parking lot (and therefore the Bay
       Equity event), for another colleague to join them before walking to a previously-planned
       dinner at a restaurant about a block to the south of 65 LaSalle. Neither Mr. Nathan nor
       his colleagues attended, walked through, or intended to “stan[d] in the shadows” of the
       Bay Equity event. Their presence on the public sidewalk was entirely coincidental. None
       of them did anything to disrupt or interfere with the Bay Equity event (Ms. Caliendo does
       not allege that they did in the text) – they merely waited, politely, and on public property,
       for a colleague to emerge from 65 LaSalle and join them.

       Mr. Nathan also categorically denies disparaging Ms. Caliendo to her co-workers or
       “anyone else in the industry,” including but not limited to “speculating or inquiring about
       [her] personal life.” Mr. Nathan has no idea where Ms. Caliendo’s allegations come from
       and requests that she cease and desist from spreading any sort of potentially
       defamatory claims – including but not limited to those contained in her text message –
       concerning Mr. Nathan moving forward. To the extent such allegations arise in the
       context of the litigation between Total Mortgage and Bay Equity, that is where they
       should stay.

       Given that pending litigation, I understand and appreciate that your client may have a
       different perspective on what transpired on July 27, but I’m less concerned about an
       argument concerning those facts than with the situation moving forward. As you
       know, I have a number of clients who work for Total Mortgage at 65 LaSalle and
       therefore almost certainly will end up running into Bay Equity employees in the normal,
       daily course of going to and from work, whether in the parking lot, in the elevator, or
       otherwise. I have instructed – and will continue to instruct – my clients not to
       engage with any Bay Equity employees at 65 LaSalle for the duration of the
       litigation. Respectfully, I would ask for you to do the same for Bay Equity
       employees concerning my clients.

       It would be unfair for my clients – who are non-party, individual Rule 45 witnesses in the
       litigation – to live under the apprehension that every chance encounter with a Bay
       Equity employee at 65 LaSalle will generate text messages like the attached – or any
       other materials – apparently (a) connected to the litigation between the companies or
       (b) otherwise intended to harass. Moreover, to the extent that, despite our best efforts,
       there end up being incidents at 65 LaSalle between Bay Equity employees and Total
       Mortgage employees (including but not limited to my clients), I suggest that the better
       policy is to funnel any related complaints through counsel for resolution than for text
       messages and accusations to be flying around between individuals. I have copied
       counsel for Total Mortgage on this e-mail for that purpose.

       I’d be happy to discuss anything related to the above at your convenience.

       Thanks,

       Will
Will




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